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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on January 8, 2021
UNITED STATES OF AMERICA : CRIMINAL NO.

v. : MAGISTRATE NO. 21-MJ-110

JORGE AARON RILEY, : VIOLATIONS:
> 18U.8.C. § 1512(c)(2)
Defendant. : (Obstruction of an Official Proceeding)

: 18U.8.C. § 2)
(Aiding and Aiding)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, JORGE
AARON RILEY, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States
Capitol without authority and committing an act of civil disorder and engaging in disorderly and
disruptive conduct, and aided and abetted the same.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, in the District of Columbia, JORGE AARON RILEY, did
unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, JORGE AARON RILEY, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, JORGE AARON RILEY,
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress and either House of Congress, and the orderly conduct in that building of a hearing before
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or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, JORGE AARON RILEY,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
